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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


ALEXANDER KESTENBAUM and
STUDENTS AGAINST ANTISEMITISM,
INC.,
                                                            Case No. 1:24-cv-10092-RGS
                               Plaintiffs,
                                                            Oral Argument Requested
v.

PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,
                    Defendant.


                      DEFENDANT’S MOTION TO DISMISS AND
                    MOTION TO STRIKE PLAINTIFFS’ COMPLAINT

       Defendant President and Fellows of Harvard College (“Harvard”) hereby moves to

dismiss this action in its entirety pursuant to Federal Rules of Civil Procedure 12(b)(1) and

12(b)(6) and, in the alternative, moves to strike Plaintiffs’ demands for injunctive relief and

punitive damages under Federal Rule of Civil Procedure 12(f). The grounds for this motion,

which are explained in detail in the accompanying Memorandum of Law, include the following:

       1.       The Court should dismiss Plaintiffs’ challenge to Harvard’s ongoing response to

antisemitism under Rule 12(b)(1) because it is premature.

       2.       The Court should dismiss Alexander Kestenbaum’s claims for injunctive relief,

and all of Students Against Antisemitism’s claims, under Rule 12(b)(1) for lack of standing.

       3.       The Court should dismiss Plaintiffs’ Title VI claim under Rule 12(b)(6) because

Plaintiffs do not plausibly allege Harvard demonstrated discriminatory animus nor do they

plausibly allege that Harvard acted with deliberate indifference.
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       4.       The Court should dismiss Plaintiffs’ breach of contract and implied covenant

claims under Rule 12(b)(6) because they fail to plead a breach of contract and because their

implied covenant claim is duplicative of their insufficient Title VI and contract claims.

       5.       The Court should strike Plaintiffs’ demands for injunctive relief because Plaintiffs

seek an impermissibly broad injunction and demand particular disciplinary measures, a form of

relief not available under Title VI. The Court should also strike Plaintiffs’ demands for punitive

damages, which are not available under Title VI or Massachusetts contract law.

       6.       In support of this Motion, Harvard submits the accompanying Memorandum of

Law and the Declarations of Meredith Weenick, Timothy Whelsky, and Felicia Ellsworth.

       WHEREFORE, Harvard respectfully requests that the Court dismiss this action in its

entirety and strike Plaintiffs’ demands for injunctive relief and punitive damages.

                             REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d), Defendant respectfully requests oral argument of this

Motion.
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DATED: April 12, 2024

                                   Respectfully Submitted,

                                   PRESIDENT AND FELLOWS OF HARVARD
                                   COLLEGE


                                   By its attorneys,


                                   /s/ Felicia H. Ellsworth
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                             LOCAL RULE 7.1 CERTIFICATION

       The undersigned hereby certifies that on April 11, 2024, counsel for Harvard conferred

with Plaintiffs’ counsel in a good faith attempt to resolve or narrow the issues involved in this

motion, and that the parties did not reach an agreement.



                                              /s/ Felicia H. Ellsworth
                                              Felicia H. Ellsworth



                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 12, 2024, I caused this document to be filed through the

CM/ECF system, where it will be sent electronically to the registered participants as identified

on the Notice of Electronic Filing.



                                              /s/ Felicia H. Ellsworth
                                              Felicia H. Ellsworth
